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4
     Attorney for Defendant
5    AUGUSTINE CRUZ SANCHEZ
6

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8                               UNITED STATES DISTRICT COURT

9                              EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                    No. 2:18-cr-00171-MCE

12                     Plaintiff,                  REQUEST AND ORDER FOR WAIVER OF
                                                   DEFENDANT’S PERSONAL
13           v.                                    APPEARANCE IN LIEU OF VIDEO
                                                   CONFERENCE APPEARANCE
14    AUGUSTIN CRUZ-SANCHEZ,
                                                   DATE: August 6, 2020
15                     Defendant.                  TIME: 10:00 a.m.
                                                   COURT: Hon. Morrison C. England, Jr
16

17                  REQUEST FOR WAIVER OF PERSONAL APPEARANCE

18         Defendant Augustin Cruz-Sanchez, by and through his counsel of record, hereby

19   requests waiver of his personal appearance in lieu of video conference appearance,

20   pursuant to General Order 614, Covid-19, and current closure of the United States

21   Eastern District of California courthouse to the public. The defendant has consulted with

22   his attorney about this waiver consents to his counsel electronically signing on his behalf

23   pursuant to General Order 616.

24   Dated: August 3, 2020                             /s/ Augustin Cruz-Sanchez
                                                       Defendant
25
     Dated: August 3, 2020                             /s/ Hayes H. Gable III
26                                                     HAYES H. GABLE III
                                                       Defendant
27                                                     AUGUSTIN CRUZ- SANCHEZ

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       Case 2:18-cr-00171-TLN Document 129 Filed 08/14/20 Page 2 of 2


1                                             ORDER
2              The personal appearance of Defendant Augustin Cruz-Sanchez is hereby waived

3    in lieu of video conference appearance pursuant to General Order 614, Covid-19, and

4    the current closure of the United States Eastern District of California courthouse to the

5    public.

6              IT IS SO ORDERED.

7    Dated: August 13, 2020

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